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                                                           CLERKS OFFICE U.S. DIST. COURT
                                                                        AT CHARLOTTESVILLE, VA
                                                                              FILED
                                                                           08/20/2019
                         UNITED STATES DISTRICT COURT                    JULIA C. DUDLEY, CLERK
                         WESTERN DISTRICT OF VIRGINIA                    BY: /s/ J. JONES
                          CHARLOTTESVILLE DIVISION                          DEPUTY CLERK


  ELIZABETH SINES, Et al.,

  v.                                                    Case No. 3:17-cv-72

  JASON KESSLER, Et. al.,

                                         ORDER

        On July 12, 2018, this Court granted the motion made by Defendant James

  Alex Fields, Jr., to appoint counsel from his criminal case, Case No. 3:18-cr-11, to

  also be counsel of record in this ancillary matter. Now that Mr. Fields’ criminal

  case is closed, this civil case is no longer an ancillary matter for which counsel is

  required to “protect a Constitutional right. . . .” Guide to Judiciary Policy, Vol 7,

  Defender Services, Part A, § 210.20.30(c).

        ORDERED, that the Federal Public Defender for the Western District of

  Virginia may withdraw as counsel for James Alex Fields, Jr. because this matter is

  not longer an ancillary proceeding to his completed criminal case.

        ENTERED: August 20, 2019
